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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 K.C., et al.,                                  )
                                                )
                   Plaintiffs,                  )
                                                )
 v.                                             )      No. 1:23-cv-00595-JPH-KMB
                                                )
 THE INDIVIDUAL MEMBERS                         )
 OF THE MEDICAL LICENSING                       )
 BOARD OF INDIANA, in their                     )
 official capacities, et al.,                   )
                                                )
                   Defendants.                  )

                 DEFENDANTS’ PRELIMINARY WITNESS AND EXHIBIT LISTS

         Pursuant to the case management plan, Defendants the Individual Members of the Medical

 Licensing Board of Indiana, in their official capacities, Executive Director, Indiana Professional

 Licensing Agency, in her official capacity, Attorney General of the State of Indiana, in his official

 capacity, Secretary, Indiana Family and Social Services Administration, in her official capac-

 ity, and Indiana Family and Social Services Administration, hereby submit their preliminary wit-

 ness and exhibit lists.

 Preliminary witness list

         1.        Nathaniel Clawson, Beth Clawson, and K.C., who may be contracted through plain-

 tiffs’ counsel.

         2.        Ryan Welch, Lisa Welch, and M.W., who may be contracted through plaintiffs’

 counsel.

         3.        Emily Morris and A.M., who may be contracted through plaintiffs’ counsel.

         4.        Maria Rivera and M.R., who may be contracted through plaintiffs’ counsel.

         5.        Catherine Bast, who may be contracted through plaintiffs’ counsel.
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        6.     Mixhi Marquis, who may be contracted through plaintiffs’ counsel.

        7.     Mosaic Health and Healing Arts, Inc., which may be contracted through plaintiffs’

 counsel.

        8.     Indiana University Health, Inc. d/b/a Riley Children’s Hospital, 705 Riley Hospital

 Dr., Indianapolis, IN 46202, 317-944-4093.

        9.     Elaine Cox, Riley Children’s Hospital, 705 Riley Hospital Dr., Indianapolis, IN

 46202, 317-944-4093.

        10.    The Health and Hospital Corporation of Marion County d/b/a Eskanazi Health, 720

 Eskenazi Ave., Indianapolis, IN 46202.

        11.    Janine Fogel, Eskenazi Women’s Center of Excellence, 720 Eskenazi Ave., Indi-

 anapolis, IN 46202, 317-880-6050.

        12.    The Secretary of the Indiana Family and Social Services Administration or the Sec-

 retary’s designee, who may be contacted through defendants’ counsel.

        13.    The Indiana Family and Social Services Administration or its designee, which may

 be contacted through defendants’ counsel.

        14.    James M. Cantor, who may be contacted through defendants’ counsel.

        15.    Paul W. Hruz, who may be contacted through defendants’ counsel.

        16.    Dianna T. Kenny, who may be contacted through defendants’ counsel.

        17.    Daniel Weiss, who may be contacted through defendants’ counsel.

        18.    Kristopher Kaliebe, who may be contacted through defendants’ counsel.

        19.    World Professional Association for Transgender Health, 1300 S 2nd Street Ste.

 180, Minneapolis, Minnesota, 55454.




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         20.      Endocrine Society, 2055 L Street NW, Suite 600, Washington, DC, 20036, 888-

 363-6274.

         21.      Deaconess Health System, 600 Mary Street, Evansville, IN, 47747, 812-450-5000.

         22.      Community Health Network, 7330 Shadeland Station, Suite 200, Indianapolis, IN,

 46256, 800-777-7775.

         23.      Gender Expansive Kids & Co. 10704 Fall Creek Rd., Indianapolis, IN 46256.

         24.      GenderNexus, Inc., 3733 N. Meridian St. Ste. 310, Indianapolis, IN, 46208, 317-

 650-5988.

         25.      Indiana Youth Group, 3733 N Meridian St., Indianapolis, IN 46208, 317-541-8726.

         26.      Any and all declarants in this action.

         27.      Any and all persons listed on the plaintiffs’ initial disclosures and/or any future

 witness lists.

         28.      Any and all persons necessary for impeachment or rebuttal, and/or for the authen-

 tication of documents.

 Preliminary exhibit list

         1.       All documents attached to any filings by plaintiffs or defendants in this action.

         2.       All expert reports in this matter.

         3.       All documents cited in the expert reports.

         4.       All documents produced by plaintiffs in this matter.

         5.       All depositions taken in this action and their exhibits.

         6.       All responses to interrogatories and document requests from plaintiffs or third par-

 ties.

         7.       All stipulations and responses to requests for admissions in this matter.



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        8.     The complaint and answer to the complaint in this cause and any amended com-

 plaints and answers to any amended complaints.

        9.     All affidavits and verified documents filed in this case.

        10.    All documents noted by plaintiffs in their disclosures and any exhibit lists.

        11.    All documents necessary for purposes of impeachment or rebuttal.


                                              Respectfully submitted,

                                              THEODORE E. ROKITA
                                              Attorney General of Indiana

 Date: August 21, 2023                        By:     /s/ Thomas M. Fisher
                                              Thomas M. Fisher
                                              Solicitor General

                                              James A. Barta
                                              Deputy Solicitor General

                                              Corrine Youngs
                                              Policy Director and Legislative Counsel

                                              Melinda R. Holmes
                                              Deputy Attorney General

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                              CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed with the Court and served by the CM/ECF

 system on August 21, 2023.

                                                  /s/ Thomas M. Fisher
                                                  Thomas M. Fisher
                                                  Solicitor General




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